Case 1:21-cr-00377-BAH Document 82-1 Filed 05/18/22 Page 1 of 5




                        EXHIBIT 1
        Case 1:21-cr-00377-BAH Document 82-1 Filed 05/18/22 Page 2 of 5




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             :
UNITED STATES OF AMERICA                     :      Case No.: 21-CR-377 (BAH)
                                             :
       v.                                    :
                                             :
ANTHONY ROBERT WILLIAMS,                     :
                                             :
       Defendant.                            :
                                             :

                                  PROPOSED VOIR DIRE


1. Do you feel so uncomfortable being in a room with other jurors and trial participants, due to
   the COVID-19 pandemic, that it would be difficult for you to pay attention or otherwise to
   serve as a juror in this case?

2. Are you currently caring for a relative or close friend, who has been infected by, or exposed
   to persons infected with, COVID-19, such that it would be difficult for you to pay attention
   or otherwise to serve as a juror in this case?

3. The United States is represented in this case by Assistant United States Attorney
   ANTHONY FRANKS and Department of Justice Trial Attorney GRACE ALBINSON, and
   they are being assisted by paralegal NGOZICHUKWUKA OBI all of whom work at the
   U.S. Attorney’s Office here in Washington, D.C. PLEASE STAND. Do you know or have
   you had any contact with these individuals?

4. The defendant at trial is ANTHONY ROBERT WILLIAMS. PLEASE STAND. Do you
   know or have you had any contact with ANTHONY ROBERT WILLIAMS?

5. ANTHONY ROBERT WILLIAMS is represented in this case by Federal Community
   Defenders BENTON MARTIN and JAMES GEROMETTA , who are assisted by their
   investigator ________. PLEASE STAND. Do you know or have you had any contact with
   BENTON MARTIN, JAMES GEROMETTA or                      ?

6. During the course of the trial, you may hear testimony from or about a number of people.
   The attorneys will now identify for you the names of people who may testify or about whom
   you may hear testimony. Listen carefully and, if you recognize or know any of the people
   named, please mark your paper beside the number 6. The Government’s counsel may go
   first, and then defense counsel may list any additional names.

7. Please look around you. Do you know or recognize any other member of the prospective jury
   panel, any member of the courtroom staff or me?
         Case 1:21-cr-00377-BAH Document 82-1 Filed 05/18/22 Page 3 of 5




8. During the course of this trial, you will hear about a certain location in Washington, D.C., the
   United States Capitol, B. Please put a mark next to number 8 if you, any member of your
   family, or any close friend live, work near or have any special familiarity with the immediate
   area of the United States Capitol?

9. Based on the information I have given you about this case, have you heard or read about this
   matter before coming to court today or do you believe you know anything about the facts and
   circumstances of this case?

10. The lawyers have predicted that the presentation of evidence in this trial should last four to
    five days, but it could run longer. The jury will sit Monday through Friday, generally from
    9:30 a.m. to 5 p.m., although the starting and ending times may vary. The length of jury
    deliberations following the presentation of evidence at trial will be determined by the jury
    itself. Do you have an urgent or extremely important matter to attend to this week, such that
    you could be faced with a hardship if selected to serve on the jury in this case?

11. Do you have any vision, language, or hearing problems, or any other physical or medical
    problems, that might interfere with your ability to hear or understand what the witnesses say
    in this case, to view exhibits and photographs, or to give your full attention to this case?

12. Do you have any moral, religious, or ethical beliefs that prevent you from sitting in judgment
    of another person?

13. If you ever served before as a juror at a civil or criminal trial, or on a grand jury, was there
    anything about your service that might affect your ability to serve fairly and impartially as a
    juror at this trial?

14. Have you, any member of your family, or any close friend ever studied law or been
    employed by a lawyer or a law firm, worked in a courthouse, been a paralegal or legal
    secretary, or performed legal investigative work?

15. Have you, any member of your family, or any close friend ever been employed by any local,
    state, or federal law enforcement agency or a private security company? Law enforcement
    agencies include for example, the Metropolitan Police Department, the Federal Bureau of
    Investigation, the Drug Enforcement Administration, the Bureau of Alcohol, Tobacco,
    Firearms and Explosives, and the United States Capitol Police.

16. Have you, any member of your family, or any close friend had any experiences with any law
    enforcement agency or the government that might cause you to favor or disfavor the
    government or law enforcement?

17. Have you ever filed a complaint against a police officer or anyone in law enforcement?

18. Have you, any member of your family, or any close friend ever been the subject of a criminal
    investigation, accused of criminal conduct, or arrested or prosecuted for a crime?



                                                  2
        Case 1:21-cr-00377-BAH Document 82-1 Filed 05/18/22 Page 4 of 5




19. Have you, any member of your family, or any close friend ever been a victim of a crime, a
    witness to a crime, or testified in court or before a grand jury as a witness to a crime?

20. Do you have any opinions about prosecutors or defense attorneys that might affect your
    ability to serve fairly and impartially in this trial?

21. Do you, any member of your family, or any close friend belong to a group or organization
    that is active in law enforcement or crime victim prevention matters? Some examples of such
    organizations include: Fraternal Order of Police, Crime Watch, Neighborhood Watch,
    Crime Stoppers, Orange Hats, or other organizations, including any groups online, that
    monitor or discuss neighborhood crime issues.

22. In this case, law enforcement officers will be witnesses. Would you tend to believe or not
    believe the testimony of a law enforcement officer simply because he or she is a law
    enforcement officer? In other words, would you tend to give more or lesser weight to the
    testimony of a law enforcement officer than to the testimony of other witnesses?

23. The prosecution has the burden of proof. This means that the jury cannot return a guilty
    verdict against a defendant unless the prosecution has proven beyond a reasonable doubt that
    the defendant is guilty of the crime charged. Would you have any difficulty accepting and
    applying this legal instruction?

24. Every defendant in a criminal trial is presumed innocent and, therefore, has no obligation to
    testify or present any evidence in the case. Would you have any difficulty accepting and
    applying this legal instruction?

25. To reach a verdict on a particular charge, every juror must agree on the verdict. That is, any
    verdict must be unanimous. In deliberations you must consider the opinions and points of
    your fellow jurors, but you must also follow your own conscience and be personally satisfied
    with any verdict. Would you have difficulty expressing your own opinions and thoughts
    about this case to your fellow jurors?

26. Is there anything about the nature of the case or about the parties involved that would make it
    difficult for you to render a verdict based solely upon the evidence presented and law as I
    instruct you?

27. Do you know of any reason, or has anything occurred to you during this questioning, that
    might in any way prevent you from following my instructions on the law and being
    completely fair and impartial as a juror in this case?

28. Do any of you live or work at or near the U.S. Capitol?

29. Do you or someone you know have a direct or indirect connection to the events that
    occurred at the U.S. Capitol on January 6, 2021?




                                                 3
         Case 1:21-cr-00377-BAH Document 82-1 Filed 05/18/22 Page 5 of 5




30. Have you followed the news about the events that took place at the U.S. Capitol on
    January 6, 2021?

31. Do you think you have any information from any source specifically about Anthony Robert
    Williams?

32. Have you already formed an opinion regarding the guilt or innocence of the individuals
    present at the U.S. Capitol on January 6, 2021?

33. No matter what you have heard or seen about events at the U.S. Capitol on January 6, 2021,
    and no matter what opinions you may have formed, can you put all of that aside and decide
    this case only on the evidence you receive in court, follow the law, and decide the case in a
    fair and impartial manner?

34. Does anyone have such strong feelings or opinions about the events that took place at the
    U.S. Capitol on January 6, 2021 that would make it difficult for you to serve as a fair and
    impartial juror in this case?

35. As you sit here, do you have an opinion about Anthony Robert Williams’s guilt or
    innocence in this case?

36. Do you believe that you and/or the residents of the City of Washington D.C. were affected
    or inconvenienced by the events which transpired at the U.S. Capitol on January 6, 2021?

37. Do you think that your political views, or those of your spouse, partner, or significant
    other, would affect your ability to serve as a fair and impartial juror in this case?



Dated:
                                                  BERYL A. HOWELL
                                                  Chief United States District Judge




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